
305 N.Y. 791 (1953)
In the Matter of New York Ambassador, Inc., Appellant,
v.
Board of Standards and Appeals of the City of New York et al., Respondents.
Court of Appeals of the State of New York.
Argued April 17, 1953.
Decided May 29, 1953
Milton M. Bergerman and Michael J. Lichtenstein for appellant.
Denis M. Hurley, Corporation Counsel (Andrew Bellanca and Seymour B. Quel of counsel), for respondents.
Concur: LEWIS, Ch. J., CONWAY, DESMOND, DYE, FULD and FROESSEL, JJ.
Order affirmed, with costs; no opinion.
